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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:07-cr-295-02
                                    )
v.                                  )                  HON. JANET T. NEFF
                                    )
MATTHEW ESTRADA, A/K/A/             )
CHAOS,                              )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on April 29, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant MATTHEW ESTRADA, a/k/a/ Chaos, entered a plea of guilty to Count 1,

charging defendant with Conspiracy to Distribute and Possess with Intent to Distribute 5 Kilograms

of More of Cocaine and 50 Grams or More of Crack Cocaine in violation of 21:846; 21:841(a)(1);

21:841(b)(1)(A)(ii); 21:841(b)(1)(A)(iii). On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to Count 1 be accepted, and that

the court adjudicate defendant guilty. It is further recommended that the defendant remain detained
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pending sentencing. Acceptance of the plea, adjudication of guilt, and imposition of sentence are

specifically reserved for the district judge. The clerk is directed to procure a transcript of the plea

hearing for review by the District Judge.



Date: April 29, 2008                                    /s/ Timothy P. Greeley
                                                       TIMOTHY P. GRELEY
                                                       United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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